255 008(03038€ 1:05-cv-Oll40-STA-egb Document 11 Filed 08/26/05 Page 1 of 3 Page|D 21

v. Case No: 1--95?1-9949=T/AN

HARDIN COUNTY TENNESSEE

UNITED STATES DISTRICT cOURr 1150
WESTERN msrrucr OF TENNESSEE 05 9& z/
EASTERN DrvrSION

DEBBIE BARRETT; CRYSTAL WALFORD; ) 625 ij /:/3,3
SONJA LEFLER; SHARON SKUFCA; MISTY ) 594€;';4411 4 9
YERBY~, DANA MCFALL; SHEILA ) 19¢;1~"' »4>““5( 119
WlLKERSON-, vALERIE KINNEY; RHoNDA ) 1144;@ 504/pf
KELLEY; BRANDON GARRARD; GREGORY ) @’V
CHERRY-, BRIAN BOERSMA; MICHAEL )
RISNER; JEREMY HURST; and JAMES )
CUMMINGS )

)

Pla'mnrf S _
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Defendant(s)

 

ORDER GRANTING MOTION TO CONTINUE SCHEDULING CONFERENCE

 

Upon agreement cf Parties, that the Scheduling Conference in this matter be continued until
Septernber 30, 2005 or reset for a time to be determined by the court, it is,
HEREBY ORDERED, ADJUDGED, AND DECREED that the Parties are granted a continuance 01"

the Scheduling Conference, Which Wi]l be reset for a time to be determined by the court.

 

DATED: This the 'Zééday cf ¢J’}¢H'\’ , 2005.

mm dee

IUDGE

This document entered on the docket she (tj'n cum tw§r\ce
with Rule 58 and,'or_'/'Q (a} FHCP on

Case 1: 05- -c\/- -01140- STA- egb Document 11 Filed 08/26/05 Page 2 of 3 Page|D 22
APPROVED FOR ENTRY:

Respectfully Submitted,

PE?TECOSTU:Y§<:: GLENN & RUDD, PLLC

uMaUe>!%/£D f
lBrandon O. Gibson (#021485)
Attorneys for Defendant, Hardin County, Tennessee
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GLANKER BROWN

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Robert L. nation
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Seventeenth FlOOr
Memphis, TN 38103-2566

 

CERTIFICATE OF SERVICE
This is to certify that l Served a copy of this pleading or papers in person or by mail upon

Robert L. Hutton
Bany Ward

One Commerce Square
Seventeenth Floor

Memphis, TN 38103-2566

on or before the filing date thereof

DATE: This the z M day of August,_ZOOS.

PENTEC;;ST, GLENN 61 UD|§:, PLLC

Brandon O. Gibson
PENTECOST, GLENN & RUDD, PLLC

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01140 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

